Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 1 of 79 PagelD #:11

EXHIBIT A
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 2 of 79 PagelD #:12

AFFIDAVIT

Linda D. Hautala, being first duly sworn on oath, deposes and
says: That she is a duly authorized custodian of the records of

West Bend Mutual Insurance Company and she has the authority to

certify those records.

To the best of my knowledge, the policy attached to this
affidavit is a true copy of the original Standard Workers
Compensation and Employers Liability policy, bearing policy

#WCA0457505-06 as that policy was in effect on January 1, 2006 to

January 1, 2007.

Se he Bh, A.D.

Linda D. Hautala

Subscribed and sworn to before me
this 2nd day of May, 2012.

Notary Public, Washixgton County, WI
My Commission expires Ja- F- f. vesees
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Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 3 of 79 PagelD #:13

(WCJALB4)
: West Bend Mutual CUSTOMER # 0120109905 R 121
INSURANCE COMPANY-TIME TESTED SINGE 1854
1900 SOUTH 18TH AVENUE-WEST BEND. Wi 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ILLINOIS WORKERS COMP RATE CORRECTION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
_1,  PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD - 01/01/2006 TO 61/01/2007 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A, THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INGURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4, THE PREMLUM FORK THIS POLICY WILL BS DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNOALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST

ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUON REMUN PREMIUM
SEE EXTENSION OF INFORMATION PAGE 590,633
PREMIUM DISCOUNT: 10.4% $60,274-
MINIMUM PREMIUM $750 {IL} EXPEWSE CONSTANT: $260
ESTIMATED ANNUAL PREMIUM: $530,619
ASSESSMENTS & TAXES: $5,359 DEPOSIT PREMIUM: $535,978
THE FOREGOING AMENDMENT RESULTS IN A RETURN PREMIUM OF: $91

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF FHIS POLICY.
COUNTERSIGNED THIS DAY OF r 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 06/13/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 4 of 79 PagelD #:14

(WOUA184)
- West Bend Mutual CUSTOMER # 0110109905 R 121
INSURANCE COMPANY-TIME TESTED SINCE 1864
1900 SOUTH 18TH AVENUEWEST BEND. WI 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ILLINOIS WORKERS COMP RATE CORRECTION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630}~443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY BXTENSITOW OF INFORMATION PAGE
PAGE 2
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
IL 0001 5445 WALLBOARD INSTALLATION-WITIIN 8,456,324 9.793 827,028
BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 5,601,783 10.52 389,308
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR - BXECUTIVE o 3.93 0
SUPERVISOR OR CONSTRUCTION
SUPERINTENDENT
DELETED, EFFECTIVE 01/01/2006
5606 CONTRACTOR ~ EXECUTIVE 1,226,992 3.91 47,975
SUPERVISOR OR CONSTRUCTION
SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT Oo 10.40 0
YARD
DELETED, EFFECTIVE 01/01/2006
8227 CONSTRUCT. OR ERECTION PERMANENT 38,977 10.38 4,046
YARD
8742 SALES PERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS-OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 371,037 0.32 1,188
SUB-TOTAL 1,470,250
9740 FOREIGN TERRORISM 0500 7,914
9741 DOMESTIC TERR. ,EARTHQUAKE & CAT. 0200 3,166

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 06/13/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 5 of 79 PagelD #:15

(WCJA184)
‘ West Bend Mutual CUSTOMER # 0110109905 R 121
INSURANCE COMPANY: TIME TESTED SINCE 1894
1800 SOUTH 18TH AVENUE-WEST BEND, Wi $3085.
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
_ ENDORSEMENT EFFECTIVE 01/01/2006
ILLINOIS WORKERS COMP RATE CORRECTION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CY UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EZTENSTION OF INFORMATION PAGE
PAGE 3
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMON PREMIUM
0930 WAIVER : 2,002
9912 INCREASED COVERAGE II 2.8% 41,223
9931 MEDICAL DEDUCTIBLE 2.9% 42,377-
9898 EXPERIENCE MODIFICATION . 8400 235,376-
9837 SCHEDULE MODIFICATION 30.0% 370,717-
9046 CONTR ADJ ~ 6700 285,452-
TIC OPERATIONS FUND SURCHARGE 0101 5,359
TOTAL FOR ILLINOIS 530,633

ISSUE DATE 06/13/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 6 of 79 PagelD #:16

. (WOJA1B4)
‘ West Bend Mutual CUSTOMER # 0110109905 R 121
INSURANCE COMPANY-TIME TESTED SINGE 1654
1800 SOUTH 187TH AVENUE-WEST GEND.Wi 530905
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WWCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ILLINOIS WORKERS COMP RATE CORRECTION
NAMED INSURED AND ADDRESS AGENCY NAMB AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630}-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 4
NOMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
wCcoocooda WORKERS COMP & EMPLOYERS LIAB.& INS.POL. (92-04)
WCOOODOIA GENERAL INFORMATION PAGE NOTES (91-06)

« WC000310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
wcoo0do403 EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
WCO00406 PREMIUM DISCOUNT ENDORSEMENT (84-08)
weooo0o4d14 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
wo1z0402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09}
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)

WEd09F NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.c. (05-01)
Woocol13 TERRORISM RISK INSURANCE EXTENSION ACT END (06-01)
~WCO000313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 06/13/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 7 of 79 PagelD #:17

(WCUAL84)
- West Bend Mutual CUSTOMER # 0110109905 R= 121
INSURANCE COMPANY-TIME TESTED SINCE 1834
12090 SQUTH 18TH AVENUE-WEST BEND Wi 63005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ILLINGIS WORKERS COMP RATE CORRECTION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630}-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 5
NUMBER DESCRIPTION
woooe419 PREMIUM DUE DATE ENDORSEMENT (01-01)
wooded21 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC (05-01)
** THE ABOVE LISTED FORM NO LONGER APPLIES _ ¥*
WCOOD421A DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC(06-01)
woo004d22 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
wci20601c ILLINOIS AMENDATORY ENDORSEMENT (01-04)
WCO1206024 ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUB DATE 06/23/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 8 of 79 PagelD #:18

(WOJA184)
‘ West Bend Mutual CUSTOMER # 0110109905 R 207
INSURANCE COMPANY-TIME TESTED SINCE 1884
1900 SOUTH 18TH AVENUE-WEST BEND,WI 63095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

{630}-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD - 01/01/2006 TO 01/01/2007 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED ZN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE 31,000,000 TOTAL POLICY

3C,. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EACEPT ND, OH, WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.

4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL

BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMON PREMIUM
SEE EXTENSION OF INFORMATION PAGE 590,733
PREMIUM DISCOUNT: 10.4% $60, 284~
MINIMUM PREMIUM $750 (IL) EXPENSE CONSTANT: $260
ESTIMATED ANNUAL PREMIUM: - $330,709
ASSESSMENTS & TAXES: $5,360 DEPOSIT PREMIUM: $536, 069

THE FOREGOING AMENDMENT RESULTS IN NO CHANGE OF PREMIUM.
*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 03/22/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 9 of 79 PagelD #:19

(WCJA1B4}
* West Bend Mutual CUSTOMER # 0110109905 R 207
INSUAANGE COMPANY-TIME TESTED SINGE 804
1800 SOUTH 187TH AVENUE-WEST BEND,WWi 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 02/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING co, INC PRIME MERIDIAN GROUP LID
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION GPF INFORMATION PAGE
PAGE 2

CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
IL 0001 5445 WALLBOARD INSTALLATION-WITHIN 0,456,324 9.78 827,028
BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC «& 5,601,783 10.52 589,308
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR ~ EXECUTIVE 1,226,992 3.93 49,221
SUPERVISOR OR CONSTRUCTION
SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 36,977 10.40 4,054
YARD
8742 SALESPERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS-OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 371,087 0.32 1,188
SUB-TOTAL 1,470,504
9740 FOREIGN TERRORISM .0500 7,914
9741 DOMESTIC TERR.,EARTHQUAKE & CAT. .0200 3,166
0930 WALVER 2,002
9812 INCREASED COVERAGE II 2.8% 41,230
9931 MEDICAL DEDUCTIBLE 2.8% 42,385-
9898 EXPERIENCE MODIFICATION .8400 235,416-
9887 SCHEDULE MODIFICATION 30.0% 370, 781-
9046 CONTR ADJ .6700 285,501~
IIC OPERATIONS FUND SURCHARGE -0101 5,360
TOTAL FOR ILLINOIS 590,733

ISSUE DATE 03/22/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 10 of 79 PagelD #:20

(WCJA184}
* West Bend Mutual CUSTOMER # 0110109905 R 207
INSURANCE COMPANY: TIME TESTED SINGE 1894
1800 SOUTH 18TH AVENUE-WEST BENG,W 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1, PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630) -443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 3

NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
WCOQOO0000A WORKERS COMP & EMPLOYERS LIAB.& INS. POL. (92-04)
WCOCOO01A GENERAL INFORMATION PAGE NOTES (91-06)
woodd319 SOLE PROP. PARTNERS OFFICERS & OTHERS END, (#4-U4)}
WwC000403 EXPERIENCE RATING MODIFICATION FACTOR END. (84~04)
wC000406 PREMIUM DISCOUNT ENDORSEMENT (84-08)
weooo4d14 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
wo120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WB409F NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.c. (05-01)
wC000113 TERRORISM RISK INSURANCE EXTENSION ACT END (06-01)
wC000313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 03/22/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 11 of 79 PagelID #:21

(WOJALB4)
’ West Bend Mutual CUSTOMER # 0110109905 R 207
INSURANCE COMPA NY-TIME TESTED SINCE 1804 :
7600 SOUTH 18TH AVENUE-WEST SEND, 53005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLIcY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO, 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 4
NUMBER DESCRIPTION
woo00419 PREMIUM DUE DATE ENDORSEMENT (01-01}
woood421 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC (05-01)
** TRE ABOVE LISTED FORM NO LONGER APPLIES xe
wooodgd21a DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC (06-01)
woood422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
wol20601Cc ILLINOIS AMENDATORY ENDORSEMENT (01-04)
Wo120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE {92-08}

ISSUE DATE 03/22/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 12 of 79 PageID #:22

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC00.03 43(Ed_04 84)

WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule. (This agreement applies only to the
extent that you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

Schedule

DEL WEBB CORPRATION
JOB: PAINTING & DRYWALLING FOR DEL WEBR CORPORATION

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

{The information below is required only when this endorsement is issued subsequent to preparation of the pollcy.)

Endersement Effective Policy No. Endorsement No,

Insured Premium $

insurance Company Countersigned by

WC 00 03 13 (04 84) Page 1 of 4

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Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 13 of 79 PageID #:23

(WCJAL84)
* West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANGE COMPANY-TIME TESTED SINCE 1804
1600 SOUTH 18TH AVENUE-WEST SEND WI 53055
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING FORMS WCOOQ113 AND WCO00421A
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, TL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD - 01/01/2006 TO 01/01/2007 12:01 AM STANDARD TIM® AT THE
ADDRESS OF THE INSURED AS STATED HEREIN,
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN BACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,600,000 BACH ACCIDENT
BODILY INJURY BY DISEASE $1,900,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C, OTHER STATES INSURANCE: PART THREE OF TEE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST

ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMON REMON PREMIUM
SEE EXTENSION OF INFORMATION PAGE 590,733
PREMIOM DISCOUNT: 10.4% $60,284-
MINIMUM PREMIUM $750 {IL} EXPENSE CONSTANT: $260
ESTIMATED ANNUAL PREMIUM: $530,709
ASSESSMENTS & TAXES: $3,360 DEPOSIT PREMIUM: $536, 069

THE FOREGOING AMENDMENT RESULTS IN NO CHANGE OF PREMIUM.
*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THTS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 03/15/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 14 of 79 PageID #:24

(WCJA184)
’ West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANCE COMPANY-TIME TESTED SINCE 1894
3000 SOUTH 187TH AVENUE-WEST BEND, WI 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING FORMS WC000113 AND woo00421a
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CY UNIT L ‘2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
IL 0001 5445 WALLBOARD INSTALLATION-WITHIN 6,456,324 9.76 827,028
BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 5,601,783 10.52 §89,308
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR - EXECUTIVE 1,226,992 3,93 48,221
SUPERVISOR OR CONSTRUCTION
. SUPERINTENDENT
8227 CONSTRUCT. OR ERECrion BiRMaNENT —~ 38,977 To.40- "4,054 7
YARD
8742 SALESPERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS-OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES woc 371,097 0.32 1,188
SUB-TOTAL 1,470,504
9740 FORKIGN TERRORISM .0500 7,914
9741 DOMESTIC TERR.,SARTHOUAKE & CAT. .0200 3,166
0930 WAIVER 2,002
9812 INCREASED COVERAGE II 2.8% 41,230
9931 MEDICAL DEDUCTIBLE 2.8% 42,385-
9898 EXPERIENCE MODIFICATION -8400 235,416-
9687 SCHEDULE MODIFICATION 30.0% 370,781-
9046 CONTR ADJ -6700 285,501-
TIC OPERATIONS FOND SURCHARGE 0101 5,360
TOTAL FOR ILLINOIS 590,733

ISSUE DATE 03/15/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 15 of 79 PagelID #:25

(WCJALE4)
' West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANCE COMPANY: TIME TESTED SINCE 1804
1800 SOUTH 18TH AVENUEWEST BEND, Wi 63095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505~-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING FORMS WCO00113 AND WC000421A
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 3
NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
WCOODGO0A WORKERS COMP & EMPLOYERS LIAB.& INS. POL. (92-04)
WCOOO001A GENERAL INFORMATION PAGE NOTES (91-06)
wcoo00310 ' SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84~04)
wCo000403 EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
WC000406 PREMIUM DISCOUNT ENDORSEMENT (84~08)
wWoo00414 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
wC120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WB409F NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (05-02)
we000113 TERRORISM RISK INSURANCE EXTENSION ACT END (06-01)

** THE ABOVE LISTED FORM ADDED EFFECTIVE 01/01/2006 **
woo00313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 03/15/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 16 of 79 PagelID #:26

(WOJA184)
‘ West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANCE COMPANY-TIME TESTED SINGE 1894
1800 SOUTH 181TH AVENUE-WEST BEND, Wi 63005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING FORMS WCO00113 AND WC000421a
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LID
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630}-443~7300 AGENCY NO. 1262678 G2
FEIN # 364233946 RISK ID $ 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 4
NUMBER DESCRIPTION
wooco419 PREMIUM DUE DATE ENDORSEMENT (01-01)
Wooo00421 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC{G5-01)
** THE ABOVE LISTED FORM NO LONGER APPLIES *x
WCO004218 __, DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC{06~-01]
** THE ABOVE LISTED FORM ADDED EFFECTIVE 01/01/2006 **
Woo0g422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
WC120601C ILLINOIS AMENDATORY ENDORSEMENT (01-04)
WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 03/15/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 17 of 79 PagelID #:27

(WCJA184)
West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANCE COMPANY-TIME TESTED SINCE 1654
#800 SOUTH 18TH AVENUE-WEST BEND, WE 59085
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WALVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630) -443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RESK ID # 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD - 01/01/2006 TO 01/01/2007 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN BACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:,

BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,900,000 BACH EMPLOYER
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
BXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.

4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL

BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMON REMUN PREMIUM
SEER EXTENSION OF INFORMATION PAGE $90,733
PREMIOM DISCOUNT: 10.4% $60,284~
MINIMUM PREMIOM $750 (IL) EXPENSE CONSTANT: $260
ESTIMATED ANNUAL PREMIUM: $530,709
ASSESSMENTS & TAXES: $5,360 DEPOSIT PREMIUM: $536,069

THE FOREGOING AMENDMENT RESULTS IN NO CHANGE OF PREMIUM.
*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 02/17/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 18 of 79 PagelD #:28

(WCJALB4)
* West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANCE COMPANY-TIME TESTED SINCE 1854
1900 SOUTH 1BTH AVENUE-WEST BEND, Wi 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630}-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094 .

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
IL vuol 5445 WALLBOARD LNS'ALLATILON=WLIHIN 8,456,324 9.768 827,028
BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 5,601,783 10,52 589,308
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR - EXECUTIVE 1,226,992 3.93 48,221
SUPERVISOR OR CONSTRUCTION
_ SUPERINTENDENT a
$227 CONSTRUCT. OR ERECTION PERMANENT 38,977 10.40 4,054
YARD .
8742 SALESPERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS -OUTSIDE
88610 CLERICAL OFFICE EMPLOYEES NOC 371,097 0,32 1,188
SUB~TOTAL 1,470,504
9740 FOREIGN TERRORISM - 0500 7,914
9741 DOMESTIC TERR.,EARTHQUAKE & CAT. ~0200 3,166
0930 WAIVER 2,002
9812 INCREASED COVERAGE II 2.8% 41,230
9931 MEDICAL DEDUCTIBLE 2.8% 42,385-
9898 EXPERIENCE MODIFICATION . 8400 235,416-
9887 SCHEDULE MODIFICATION 30.0% 370, 781
9046 CONTR ADJ » 6700 285,501-
IIC OPERATIONS FUND SURCHARGE »O101 5,360
TOTAL FOR ILLINOIS 590,733

ISSUE DATE 02/17/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 19 of 79 PageID #:29

(WCJALB4)
- West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANCE COMPANY-TIME TESTED SINGE 1834
1200 SOUTH 18TH.AVENUE-WEST BEND, W1 63055
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 3
NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
WCOOO0000A WORKERS COMP: & EMPLOYERS LIAB.& INS. POL. (92-04)
wCOOO0O01A GENERAL INFORMATION PAGE NOTES {91-06)
WC000310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
woo00403 EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
woood406 PREMIUM DISCOUNT BNDORSEMENT (84-68)
weooo414 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
WC120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WB4A09F NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (05~01)
WC000313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04}
weoood419 PREMIUM DUE DATE ENDORSEMENT (01-01)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 02/17/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 20 of 79 PageID #:30

{WCJA1S 4}
‘West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANGE COMPANY-TIME TESTED SINCE 1694
1800 SOUTH 18TH AVENUEWEST HEND, WI 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 12626768 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 4 ‘
NOMBER DESCRIPTION
Woo0d421 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC (05-01)
woo0d422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
WC1206G1C ILLINOIS AMENDATORY ENDORSEMENT (01-04)
WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 02/17/2006 ©
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 21 of 79 PagelID #:31

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00-03-43-{Ed_04.84).

WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule, (This agreement applles only to the
extent that you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule,

Schedule

LR DEVELOPMENT COMPANY, LLC; LR MANAGEMENT CHICAGO, IL,
MCHOUGH/RITEWAY JOINT VENTURE; URBAN QUEST; ROOSEVELT

SQUARE I LP; ROOSEVELT SQUARE I, LLC;LR ABLA, LLC;

HEARTLAND ABLA RENTAL I NFP; HEARTLAND HOUSING, INC; RCC
CREDIT FACILITY, LLC, ITS SUCCESSORES AND ASSIGNS; RELATED
DIRECT SLP, LLC, ITS SUCCESSORS AND ASSIGNS; CHICAGO HOUSING
AUTHORITY; BANK OFAMERICA NA; THSRELATED COMPANIES LP,
SUBSIDIARIES, AFFILIATES, DIRECTORS, OFFICERS, MEMBERS,
MANAGERS, PARTNERS, AGENTS, EMPLOYEES, SERVANTS

JOB: ROOSEVELT SQUARE PHASE I

FCL BUILDERS, INC; MARKLUND
JOB; MARKLUND

PULTE HOME CORPORATION
JOB: PAINTING/DRYWALL

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

WC 00 03 13 (04 84) Page 1 of 4

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Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 22 of 79 PagelID #:32

(WCJA184)
‘ West Bend Mutual CUSTOMER # 0110109905 R 207
INSURANCE COMPANY-TIME TESTED SINGE 1894
1800 SOUTH 18TH AVENUEWEST BEND, WT 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
DELETING WAIVER OF SUBROGATION CHARGE
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC. PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS

ENTITY OF INSURED - CORPORATION

2. POLICY PERIOD — 01/01/2006 To 01/01/2087 12:01 AM STANDARD TIME AT THE
: ADDRESS OF THE INSURED AS STATED HEREIN,

3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS

COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B, EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH

STATE LISTED IN ITEM 3A. THE LIMITS OF CUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODLLY INJURY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PAR? OF THIS
POLICY.
4. THE PREMICM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES;
CLASSIFICATIONS, RATES, AND RATING PLANS. Al INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY,
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM

: REMON REMUN PREMIOM

SEE BXTBENSION OF INFORMATION PAGE 590,733

PREMIUM DISCOUNT: 10.4% $60,284-

MINIMUM PREMIUM $750 {Ik) EXPENSE CONSTANT: $260

: ESTIMATED ANNUAL PREMIUM: $530,709

ASSESSMENTS & TAXES: $5,360 DEPOSIT PREMIOM: $536,069

THE FOREGOING AMENDMENT RESULTS IN A RETURN PREMIUM OF: $749

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 02/06/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 23 of 79 PagelD #:33

(WCJA184)
West Bend Mutual CUSTOMER # 0110109905 R 207
INSURANCE COMPANY-TIME TESTED SINCE 1004 ‘

1800 SOUTH 18TH AVENUE-AWEST BEND, WI 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
DELETING WAIVER OF SUBROGATION CHARGE
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

{630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $200 TERM
REMUN REMUN PREMIUM
IL 0001 5445 WALLBOARD INSTALLATION-W1'THLN 8,456,324 9.78 827,028
BULLDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 5,601,783 10.52 589,308
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR - EXECUTIVE 1,226,992 3.93 48,221
SUPERVISOR OR CONSTRUCTION
SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 38,977 10.40 4,054
YARD
8742 SALESPERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS-OUTSIDE
as10 CLERICAL OFFICE EMPLOYEES NOC 371,097 0.32 1,188
SUB-TOTAL 1,470,504
9740 FOREIGN TERRORISM .0500 7,914
9741 DOMESTIC TERR.,EARTHQUAKE & CAT. .0200 3,166
9930 WAIVER 2,002
9812 INCREASED COVERAGE II 2.8% 41,230
9931 MEDICAL DEDUCTIBLE 2.8% 42,385-
9898 EXPERIENCE MODIFICATION .6400 235, 416-
9887 SCHEDULE MODIFICATION 30.0% 370, 781-
9046 CONTR ADJ .6700 285,501-
IIC OPERATIONS FUND SURCHARGE .0101 5,360
TOTAL FOR ILLINOIS 590, 733

ISSUE DATE 02/06/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 24 of 79 PageID #:34

. (WOJAL84)
West Bend Mutual CUSTOMER # 0110109905 R 207
INSURANCE COMPANY-TIME TESTED SINGE 1904
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53005

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505~-06
ENDORSEMENT EFFECTIVE 01/01/2006
DELETING WAIVER OF SUBROGATION CHARGE
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMEWT SCHEDULE
PAGE 3
NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01~06)
WCOCOOD0A WORKERS COMP & EMPLOYERS LIAB.é& INS.POL. (92-04)
WCOOCO01A GENERAL INFORMATION PAGE NOTES (91-06)
woodg310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
woood4o3 EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
weood0406 PREMIUM DISCOUNT ENDORSEMENT - (94-08)
weoood414 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
wo120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WB1130 IMPORTANT NOTICE ~ SUBCONTRACTORS (84-07)
WE409F NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.c. (05-01)
WC000313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)
WC000419 PREMIUM DUE DATE ENDORSEMENT (01-01)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 02/06/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 25 of 79 PagelD #:35.

. (WCTA1B4)
West Bend Mutual CUSTOMER # 0110109905 R 207
INSUAANCE COMPANY-TIME TESTED SINCE 1834
1600 SOUTH 187TH AVENUE-WEST SEND,WVi 69005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
DELETING WAIVER OF SUBROGATION CHARGE
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
i. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID ¢ 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 4
NUMBER DESCRIPTION
wooco4d21 DOMESTIC TERRORISM, FARTHQUAKES,& CAT. INDUST. ACC(05-01)
woo0dd22 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
woi20601c ILLINOIS AMENDATORY ENDORSEMENT (01-04}
WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 02/06/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 26 of 79 PagelD #:36

(WCJA184)
* West Bend Mutual CUSTOMER # 0110109905 R 208
INSURANCE COMPANT-TIME TESTED SINGE 180%
1800 SOUTH 18TH AVENUE-WEST BEND, WI 53095.
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABYLITY POLIC
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WALVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

{(630)-443-7300 AGENCY NO. 1262678 02
PEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD ~- 03/01/2006 TO 01/01/2007 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE; PART TWO OF THE POLICY APPLIES TO WORK IN EACK
STATE LISTED IN ITEM 38. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,000 BACH ACCIDENT
BODILY INJURY BY DISEASE $1,900, 000 BACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS

4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
Ts SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL

BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMON REMUN PREMIUM
SEE EXTENSION OF INFORMATION PAGE 591,561
PREMIUM DISCOUNT: 10.4% $60, 370~
MINIMOM PREMIUM $750 (IL) EXPENSE CONSTANT: . $260
ESTIMATED ANNUAL PREMIUM: $531,451
ASSESSMENTS & TAXES: $5,367 DEPOSIT PREMIUM: $536,818
THE FOREGOING AMENDMENT RESULTS IN AN ADDITIONAL PREMIUM OF: $749

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICy,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 01/27/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 27 of 79 PageID #:37

(WOJA184)
~ West Bend Mutual CUSTOMER # 0110109905 R 208
INSURANCE COMPANY-NIME TESTED SINCE 1504
1900 SOUTH 187H AVENUEWEST 8 ENO, Wi 59005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CY UNIT 1 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID ¢ 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2
CLASSIFICATION OF OPERATIONS
EST RATE EST
5T LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
IL 0001 5445 WALLBOARD INSTALLATION-WITHIN 8,456,324 9.78 827,028
- BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC « 5,601,783 10.52 589,308
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR ~ EXECUTIVE 1,226,992 3.93 48,221
SUPERVISOR OR CONSTRUCTION
dees SUPERINTENDENT .
8227 CONSTRUCT. OR ERECTION PERMANENT '"38,977'' 10.40 ' 4,054
YARD
8742 SALESPERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS-OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 371,097 0.32 1,188
SUB-TOTAL 1,470,504
9740 FOREIGN TERRORISM .0500 7,914
9741 DOMESTIC TERR., EARTHQUAKE & CAT. .0200 3,166
0930 WAIVER 4,104
9812 INCREASED COVERAGE II 2.88 41,289
9931 MEDICAL DEDUCTIBLE 2.8% 42,445-
9898 EXPERIENCE MODIFICATION . 8400 235,752-
9887 SCHEDULE MODIFICATION 30.03% 371,310-
9046 CONTR ADJ .6700 295, 909-
IIC OPERATIONS FUND SURCHARGE .O101 5,367
TOTAL FOR ILLINOIS 591,561

ISSUE DATE 01/27/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 28 of 79 PagelID #:38

{WCJA184)
West Bend Mutual CUSTOMER # 0110109905 R 208
INSURANCE COMPANY: TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND 141 63005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

{630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 3
NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
woocooooa WORKERS COMP & EMPLOYERS LIAB,& INS.POL. (92-04)
WCOODOOLA GENERAL INFORMATION PAGE NOTES (91-06)
wCooo0310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
wooodd03 EXPERIENCE RATING MODIFICATION FACTOR END. (#4-04)
wooo00406 PREMIUM DISCOUNT ENDORSEMENT (84-08)
wC000414 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
WO120402 ILLINOIS CONT CLASS PREMIOM ADJUSTMENT END (92-09)
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WB409F NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (05-01)
WC000313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)
woooo413 PREMIUM DUE DATE BNDORSEMENT (01-01)

SCHEDULE CONTINUED ON NEAT PAGE

ISSUE DATE 01/27/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 29 of 79 PagelID #:39

. (WCJALE 4)
West Bend Mutual CUSTOMER # 0110109905 R 208
INSURANGE COMPANY-TINE TESTED SINCE Test
1800 SOUTH 18TH AVENUE-WEST BEND, 1 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WALVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 4
NUMBER DESCRIPTION
90000421 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC(05~-01)
wooo0422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
WCL20601C ILLINOIS AMENDATORY ENDORSEMENT (01-04)
WC120602A = | ZLLINOTS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 01/27/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 30 of 79 PagelD #:40

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00.03.13 (Ed_04 84)

WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone tiable for an injury covered by this policy, We wilt not
enforce our right against the person or organization named in the Schedule. (This agreement applies only to the
extent that you perform work under a written contract that requires you fo obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule,

Schedule

LR DEVELOPMENT COMPANY, LLC; LR MANAGEMENT CHICAGO, IL,
MCHUGH/RITEWAY JOINT VENTURE; URBAN QUEST; ROOSEVELT

SQUARE I LP; ROOSEVELT SQUARE I, LLC;LR ABLA, LLC;

HEARTLAND ABLA RENTAL I NFP; HEARTLAND HOUSING, INC; RCC
CREDIT FACILITY, LLC, ITS SUCCESSORES AND ASSIGNS; RELATED
DIRECT SLP, LLC, ITS SUCCESSORS AND ASSIGNS; CHICAGO HOUSING
AUTHORITY; BANK OFAMERICA NA; THERELATED COMPANIES LP,
SUBSIDIARIES, AFFILIATES, DIRECTORS, OFFICERS, MEMBERS,
MANAGERS, PARTNERS, AGENTS, EMPLOYEES, SERVANTS

JOB: ROOSEVELT SQUARE PHASE I

FCL BUILDERS, INC; MARKLUND
JOB; MARKLOND

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated,

(The information below is required only when this endorsement is Issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

WC 00 03 13 (04 84} Page 1 of 7

Copyright 1983, National Council on Gompensation Insurance, Inc.
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 31 of 79 PagelD #:41

(WOTA184)
West Bend Mutual CUSTOMER # 0110109905 R 214
INSURANCE COMPANY-TIME TESTED SINCE 1894
1800 SOUTH 18TH AVENUE-WEST 3 END, Wi 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
CORRECTING PREMIUM AND CHANGING EXPERIENCE MOD
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1, PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630}-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD - 03/01/2006 TO 01/01/2007 12:01 AM STANDARD TIME AT THE
ADPRESS OF THE INSURED AS STATED HEREIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN BACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJORY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000, 000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THRSE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST Loc CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIOM
SEE EXTENSION OF INFORMATION PAGE 590,733
PREMIUM DISCOUNT: 10.4% $60, 284-
MINIMUM PREMIUM $7590 (IL) EXPENSE CONSTANT: $260
ESTIMATED ANNUAL PREMIUM: $330,709
ASSESSMENTS & TAXES: $5,360 DEPOSIT PREMIUM: $536,069
THE FOREGOING AMENDMENT RESULTS IN AN ADDITIONAL PREMIUM OF: $299,233

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 01/26/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 32 of 79 PagelD #:42

(WCJA184)
’ West Bend Mutual CUSTOMER # 0110109905 R 214
INSURANCE COMPANY-TIME TESTED SINCE 194
1900 SOUTH 18TH AVENUEWEST BEND, Wi 53005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
CORRECTING PREMIUM AND CHANGING EXPERIENCE MOD
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNI L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)~-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGS
PAGE 2
CLASSIFICATION OF OPERATIONS
RST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
TL 0001 5445 WALLBOARD INSTALLATION-WITHIN 8,456,324 9.78 827,029
BUILDINGS~& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 5,603,783 10.52 589,308
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR - EXECUTIVE 1,226,992 3.93 46,221
SUPERVISOR OR CONSTRUCTION
SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 38,977 10.40 4,054
YARD
8742 SALESPERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS-OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 371,097 0.32 1,188
SUB-TOTAL 1,470,504
9740 FOREIGN TERRORISM .0500 7,914
9741 DOMESTIC TERR.,EARTHQUAKE & CAT. .0200 3,166
0930 WAIVER 2,000
9912 INCREASED COVERAGE II 2.80% 41,230
9931 MEDICAL DEDUCTIBLE 2.8% 42,385-
98998 EXPERIENCE MODIFICATION 8400 235,416-
9887 SCHEDULE MODIFICATION 51.7% 0
DELETED, EFFECTIVE 01/01/2006
9837 SCHEDULE MODIFICATION 70.0% 0

DELETED, EFFECTIVE 01/01/2006
SCHEDULE CONTINUED ON NEXT PAGE

ISSOR DATE 01/26/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 33 of 79 PagelD #:43

(WCJA1B4)

’ West Bend Mutual CUSTOMER # 0110109905 R 214
INSURANCE COMPANY-TINE TESTED SINCE 1at
1900 SCUTH 18TH AVENUE-WEST BEND, WI 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505~06
ENDORSEMENT EFFECTIVE 01/01/2006
CORRECTING PREMIUM AND CHANGING EXPERIENCE MOD
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L _ 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
PEIN # 364233946 RISK ID # 121002094

POLTCY EXTENSION OF INFORMATION PAGE
PAGE 3

CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PRENIUM
9887 SCHEDULE MODIFICATION 30,08 370,780-
9046 CONTR ADT - 6700 285, 500-
TIC OPERATIONS FUND SURCHARGE 0101 5,360
TOTAL FOR ILLINOIS 590,733

ISSUE DATE 01/26/2006:
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 34 of 79 PagelD #:44

(WCJA184)
‘West Bend Mutual CUSTOMER # 0110109905 R 214
INSURANCE COMPA NY-TIME TESTED SINCE 1894
1800 SOUTH 137H AVENVE-WEST BEND WI 53095:
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
CORRECTING PREMIUM AND CHANGING EXPERIENCE MOD
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

{630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 4 '
NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
WCOGOOGOA WORKERS COMP & EMPLOYERS LIAB.& INS.POL. (92~04}
wcooocodla GENERAL INFORMATION PAGE NOTES (91-06)
WC900310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04}
weoood03 EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
woocd4 06 PREMIUM DISCOUNT ENDORSEMENT {84-08)
woooo4di4 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07}
WC120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WBI130: IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WB4A0SEF NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (05-01)
WCO000313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)
wecogo4d19 PREMIUM DUE DATE ENDORSEMENT (01-01)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 01/26/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 35 of 79 PagelD #:45

(WCJA184)
West Bend Mutual CUSTOMER # 0110109905 R 214
INSURANCE COMPANY:TIME TESTED SINCE 1894
1600 SOUTH 18TH AVENUE-WEST BEND, Wi 53005

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
CORRECTING PREMIUM AND CHANGING EXPERIENCE MOD
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
PEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 5
NUMBER DESCRIPTION
woo00421 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC (05-01)
woo00422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
wo120601C ILLINOIS AMENDATORY ENDORSEMENT [01-04)
WC120602A "ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 01/26/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 36 of 79 PagelD #:46

{WCJA184)

’ West Bend Mutual CUSTOMER # 0110109905 R 200

INSURANCE COMPANY-TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND, Wi 53035

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06

ENDORSEMENT EFFECTIVE 01/02/2006
ADDING ILLINOIS CONTRACTOR ADJUSTMENT FACTOR AND CHANGING

PREMIUM
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING Co, INC ‘PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, TL 60185

: {630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS

ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD - 01/01/2006 TO 01/01/2007 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HERSIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY ONDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000, 000 BACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 BACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST-OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
st LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
SEE EXTENSION OF INFORMATION PAGE 256,545
PREMIUM DISCOUNT: 9.1% $22,337-
MINIMUM PREMZUM $750 (IL) EXPENSE CONSTANT: $260
ESTIMATED ANNUAL PREMIUM: $234,468
ASSESSMENTS & TAXES: $2,368 DEPOSIT PREMIUM: $236,836
THE FOREGOING AMENDMENT RESULTS IN A RETURN PREMIUM OF: $308, 461

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY. ,
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 01/18/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 37 of 79 PagelD #:47

(WCJA1B4)

‘ West Bend Mutual CUSTOMER # 0110109905 R 200

———S
INSURANCE COMPANY- TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53065

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06

ENDORSEMENT BFFECTIVE 01/01/2006
ADDING ILLINOIS CONTRACTOR ADJUSTMENT FACTOR AND CHANGING

PREMIUM
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L. 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
TL 0001 5445 WALLBOARD INSTALLATION-WITHIN 6,456,324 9.78 627,026
BULLDINGS~& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 5,601,783 10,52 589,308
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR - EXECUTIVE 1,226,992 3.93 48,221
SUPERVISOR OR CONSTRUCTION
SUPERINTENDENT
6227 CONSTRUCT. OR ERECTION PERMANENT 38,977 10,40 4,054
YARD
8742 SALESPERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS-OUTS IDE
8810 CLERICAL OFFICE EMPLOYEES NOC 371,097 0.32 1,188
SUB-TOTAL 1,470,504
9740 FOREIGN TERRORISM .O500 7,914
9741 DOMESTIC TERR.,BARTHQUAKE & CAT. -0200 3,166
0930 WAIVER 2,000
9812 INCREASED COVERAGE II 2.8% 41,230
9931 MEDICAL DEDUCTIBLE . 2.8% 42,385-
9898 EXPERIENCE MODIFICATION . 8300 250,129~
9887 SCHEDULE MODIFICATION 51.7% 0
DELETED, EFFECTIVE 01/01/2006
9887 SCHEDULE MODIFICATION 70.0% 854, 854—

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 01/18/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 38 of 79 PagelD #:48

(WCJA184}
‘West Bend Mutual CUSTOMER # 0110109905 R 200
INSURANCE OGMPANTY-IME TESTED SINCE T25t
1900 SOUTH 18TH AVENUE-WEST BEND, WI 53065
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING ILLINOIS CONTRACTOR ADJUSTMENT FACTOR AND CHANGING
PREMIUM
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCTO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
602 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 460185
{630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
POLICY EXTENSION OF INFORMATION PAGE
PAGE 3
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC COBE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMON REMOW PREMIOGM
9046 CONTR ADJ .6700 120,901
TIC GPERATIONS FUND SURCHARGE 0101 2,368
TOTAL FOR ILLINOIS 256,545

ISSUE DATE 01/18/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 39 of 79 PagelD #:49

(WCJA184)

’ West Bend Mutual CUSTOMER # 0110109905 R 200

INSURANCE COMPANY-TIME TESTED SINCE i894
1900 SOUTH 18TH AVENUE-WEST SEND. Wi 53085

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06

ENDORSEMENT EFFECTIVE 01/01/2006
ADDING ILLINOIS CONTRACTOR ADJUSTMENT FACTOR AND CHANGING

PREMIUM
NAMED INSORED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDOLE

PAGE 4
NUMBER DESCRIPTION
WB1183 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
WCOGOOCOA WORKERS COMP & EMPLOYERS LIAB.& INS. POL. (92-04}
wooogddg1a GENERAL INFORMATION PAGE NOTES (91-06)
woooo310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
woo00403 EXPERIENCE RATING MODIFICATION FACTOR END. (84~04)
wooodd06 PREMIUM DISCOUNT ENDORSEMENT (84~-09}
wooo0o414 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
WC120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WR409r NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. {05-01}
WCO00313 . WAIVER OF CUR RIGHT TO REC FROM OTH END, (84-04)
wcoood419 PREMIUM DUE DATE ENDORSEMENT (01-01)

SCHEDULE CONTINUED GN NEXT PAGE

ISSUE DATE 01/19/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 40 of 79 PagelD #:50

* West Bend Mutual

INSURANGE COMPANY-TIME TESTED SINCE 1804
1900 SOUTH 18TH AVENUE-WEST BEND,Wi 59005

{WOCJA18 4)
CUSTOMER # 0110109905 R 200

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY

POLICY NUMBER WCA 0457505-06

ENDORSEMENT EFFECTIVE 01/01/2006

ADDING ILLINOIS CONTRACTOR ADJUSTMENT FACTOR AND CHANGING

_ PREMIUM
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 601295

(630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE §
NUMBER DESCRIPTION
woodd421 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC(05~01)
woo0n422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
WC120601C ILLINOIS AMENDATORY ENDORSEMENT (01-04)
WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 01/18/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 41 of 79 PagelID #:51

(WCJA184)
* West Bend Mutual CUSTOMER # 0110109905 R 208
INSURANCE COMPANY: TIME TESTED SINCE 1854
1900 SOUTH 187TH AVENUE-WEST SEND, WI 63095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
CHANGING PREMIUM OF WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LYD
601 SIDWELL CY UNIT 1 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443~7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID 4# 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
Z. POLICY PERTOD - 01/01/2006 TO 01/01/2007 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJORY BY ACCIDENT $1,000, 000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C, OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY CUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMON REMUN PREMIUM
SEE BATENSION OF INFORMATION PAGE 600,929
PREMTUM DISCOUNT: 10.4% $61,344-
MINIMUM PREMIUM $750 (TL) EXPENSE CONSTANT: $260
ESTIMATED ANNUAL PREMIUM: $539,845
ASSESSMENTS & TAXES: $3,452 DEPOSIT PREMIUM: $545,297
THE FOREGOING AMENDMENT RESULTS IN A RETURN PREMIUM OF: $749

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY. ;
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 01/13/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 42 of 79 PagelID #:52

(WCJA184}
- West Bend Mutua! CUSTOMER # 01101¢9905 R 208
INSURANGE COMPANY: TIME TESTED SINCE 1804
1990 SOUTH 18TH AVENUE-WEST BEND, WI 63095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
CHANGING PREMIUM OF WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630}-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
TL 0001 5445  WALLBOARD INSTALLATION-WITHIN 8,456,324 9.78 $27,028
BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING: NOC & 5,601,783 10.52 589,308
SHOP OPERATIONS, DRIVERS
$606 CONTRACTOR ~ EXECUTIVE 1,226,992 3.93 48,221
SUPERVISOR OR CONSTRUCTION
SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 38,977 10.40 4,054
YARD
8742  SALESPERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS-OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 371,097 0.32 1,188
SUB-TOTAL 1,470,504
9740 FOREIGN TERRORISM .0500 7,914
9741 DOMESTIC TERR., EARTHQUAKE & CAT. .0200 3,166
0930 WAIVER 2,000
9812 INCREASED COVERAGE II 2.8% 41,230
9931 MEDICAL DEDUCTIBLE 2.8% 42,385-
9898 EXPERIENCE MODIFICATION -8300  250,129-
9887 SCHEDULE MODIFICATION 51.7% 631,371-
IEC OPERATIONS FUND SURCHARGE 0101 5,452
TOLAL FOR ILLINOIS 600,929

ISSUE DATE 01/13/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 43 of 79 PagelD #:53

: {WCJA184)
- West Bend Mutual CUSTOMER # 0110109905 R 208
INSURANCE COMPANY-TIME TESTED SINCE 1894
1800 SOUTH 18TH AVENUEWEST BEND, Wi 53035
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER CA 0457505~-06
ENDORSEMENT EFFECTIVE 01/01/2006
CHANGING PREMIUM OF WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 3
WNOMBER DESCRIPTION
WHI1188 WEST BEND MUTOAL PRIVACY STATEMENT (01-06}
weoo0000a WORKERS COMP & EMPLOYERS LIAB.& INS.POL. (92-04)
WCO00001A GENERAL INFORMATION PAGE NOTES (91-06)
WC000310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
wooo0403 EXPERIENCE RATING MODIFICATION FACTOR END. (84~04)
weoo0d06 PREMIUM DISCOUNT ENDORSEMENT (84-08)
wooo0414 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
WC120402 ILLINGIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WR409F NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (05-01)
wC000313 WAIVER OF OUR RIGHT TO REC FROM OTH BND. (84-04)
woooe4l19 PREMIUM DUE DATE ENDORSEMENT (01-01)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 01/13/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 44 of 79 PageID #:54

. (WCUA184)
- West Bend Mutual CUSTOMER # 0110109905 R 208
INSURANCE COMPANY-TIME TESTED SINCE 1894
1800 SOUTH 187H AVENUB-WEST BEND. 59005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
CHANGING PREMIUM OF WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1, PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443~7306 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT §$ CHEDULE
PAGE 4
NOMBER DESCRIPTION
weooo421 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC(05-01}
woo0d422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
wel20601C ILLINOIS AMENDATORY ENDORSEMENT (01-04)
WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 01/13/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 45 of 79 PagelD #:55

(WCJA164)
- West Bend Mutual CUSTOMER # 0110103905 R 208
INSURANCE COMPANY-TIME TESTED SINCE 7894
1800 SOUTH 18TH AVENUE-WEST BEND,W1 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSORED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
i. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
60] SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630}-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD - 01/01/2006 TO 01/01/2007 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
3A, WORKERS COMPENSATION INSURANCE: PART OWE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,090 EACH EMPLOYEE |
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C,. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF ROLES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT~TERM PER $100 TERM

REMUN REMUN PREMIUM

SEE EXTENSION OF INFORMATION PAGE 601,758
PREMIUM DISCOUNT: 10.48 $61,431-

MINIMUM PREMIUM $750 {EL) EXPENSE CONSTANT; $260
ESTIMATED ANNUAL PREMIUM: $540,587

ASSESSMENTS & TAXES: $5,459 DEPOSIT PREMIUM: $546,046
THE FOREGOING AMENDMENT RESULTS IN AN ADDITIONAL PREMIUM OF: $749

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20.

AUTHORIAZED REPRESENTATIVE

ISSUE DATE 01/03/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 46 of 79 PagelID #:56

(WOJA184)
- West Bend Mutual CUSTOMER # 0110109905
INSURANCE COMPANY-TIME TESTED SINCE 1894
1900 SOUTH 18TH AVENUE-WEST SEND. 83095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS - AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

. (630)-443-7300 AGENCY NO.
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2
CLASSIFICATION OF OPERATIONS
EST RATE
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100
. ’ REMUN REMUN
IL 0001 5445 WALLBOARD INSTALLATION-WITHIN 8,456,324 9.78
BULLDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 5,601,783 106.52
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR - EXECUTIVE 1,226,992 3.93
SUPERVISOR OR CONSTRUCTION
SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 38,977 10.40
YARD
8742 SALESPERSONS, COLLECTORS OR 133,070 0.53
MESSENGERS-OUTSIDE
910 CLERICAL OFFICE EMPLOYERS NOC 371,097 0.32
SUB-TOTAL
9740 FOREIGN TERRORISM .0500
9741 DOMESTIC TERR.,BARTHQUAKE & CAT. .0200
0930 WAIVER
9812 INCREASED COVERAGE If 2.8%
9931 MEDICAL DEDUCTIBLE 2.8%
9998 EXPERIENCE MODIFICATION 8300
9887 SCHEDULE MODIFICATION 51.78
IIC OPERATIONS FUND SURCHARGE 0101

TOTAL FOR ILLINOIS

ISSUE DATE 01/03/2006

R 208

1262678 02

EST
TERM
PREMIUM
827,028
589,308

48,221

4,054

705

1,188
1,470,504

7,914
3,166
4,069
41,288
42,444-
250, 481-
632,258-
5,459

601,758
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 47 of 79 PagelID #:57

(WOJA184)
. West Bend Mutual CUSTOMER # 0110109905 R 208
INSURANCE COMPANY-TIME TESTED SINCE 185%
. 1900 SOUTH 18TH AVENUE-WEST BEND, Wi 53095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 3
NUMBER DESCRIPTION
WB11848 WEST BEND MUTUAL PRIVACY STATEMENT {01-06}
WCOOQQ00A WORKERS COMP & EMPLOYERS LIAB.& INS.POL. (92-04)
WCOOO0COLA GENERAL INFORMATION PAGE NOTES (91-06)
WO000310 SOLE PROP. PARTNERS OFFICERS & OTHERS END. {84-04}
weooc403 EXPERIENCE RATING MODIFICATION FACTOR END, (84-04)
weoodo406 PREMIOM DISCOUNT ENDORSEMENT (84~-08}
wood0414 NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
WC120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END {92-09}
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07}
WE4A09F NOTICE OF BLECT TO ACCEPT AN INS DED-ILL W.Cc. (05-01}
woood313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)
woooo4is PREMIUM DUE DATE ENDORSEMENT (01-01)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 01/03/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 48 of 79 PagelID #:58

(WCJA184)
- West Bend Mutual CUSTOMER # 0110109905 R 208
INSURANCE COMPANY-TIME TESTED SINGE 1894
1900 SOUTH 18TH AVENUE-WEST BEND.Wi 50085
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
ENDORSEMENT EFFECTIVE 01/01/2006
ADDING WAIVER OF SUBROGATION
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

{630}~443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094 , ‘

POLICY ENDORSEMENT SCHEDULE
PAGE 4
NUMBER DESCRIPTION
wcd0doe421 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC(05-01)
Woo0d422 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
wo1z0601c ILLINOIS AMENDATORY ENDORSEMENT (01-04)
WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 01/03/2006
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 49 of 79 PagelID #:59

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WiC 00-0313 (Ed_04.84).

WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule. (This agreement applies only to the
extent that you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

Schedule

LR DEVELOPMENT COMPANY, LLC; LR MANAGEMENT CHICAGO, IL,
MCHUGH/RITEWAY JOINT VENTURE; URBAN QUEST; ROOSEVELT

SQUARE I LP; ROOSEVELT SQUARE I, LLC;LR ABLA, LLC;

HEARTLAND ABLA RENTAL I NFP; HEARTLAND HOUSING, INC; RCC
CREDIT FACILITY, LLC, ITS SUCCESSORES AND ASSIGNS; RELATED
DIRECT SLP, LLC, ITS SUCCESSORS AND ASSIGNS; CHICAGO HOUSING
AUTHORITY; BANK OFAMERICA NA; THERELATED COMPANIES LP,
SUBSIDIARIES, AFFILIATES, DIRECTORS, OFFICERS, MEMBERS,
MANAGERS, PARTNERS, AGENTS, EMPLOYEES, SERVANTS

JOB: ROOSEVELT SQUARE PHASE I

This endorsement changes the policy to which it is attached and is effective on the date issued unless otharwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

WGC 00 03 13 (04 84) Page 1 of 1

Copyright 1983, National Council on Compensation Insurance, Inc,
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 50 of 79 PagelD #:60

(WOuA184) .
. West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANGE CONPANY-TINE TESTED SIGE 1091
1900 SOUTH 18TH AVENUEWEST BEND. 65095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 1221002094
NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATION
2. POLICY PERIOD ~ 01/01/2006 TO 01/01/2007 12:01 AM STANDARD TIM AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN BACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH,WA, WV,WY,AND THE STATES DESIGNATED IN 3A

3D. SBE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.

4. TEE PREMIUM. FOR.THTS POLICY WILL BE .DETERMINED BY. .OUR. MANUALS OF RULES,.
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
1S SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL

BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
§T LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMON PREMIUM
SEE EXTENSION OF INFORMATION PAGE 600, 929
PREMIUM DISCOUNT: 10.4% $61,344-
MINIMUM PREMIUM $750 (TL) EXPENSE CONSTANT: $260
ESTIMATED ANNUAL PREMIUM: $539,845
ASSESSMENTS & TAXES: 85,452 DEPOSIT PREMIUM: $545,297

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED BLSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 12/19/2005
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 51 of 79 PagelID #:61

(WCJA184)
. West Bend Mutual CUSTOMER # 0110109905  R 232
INSURANCE COMPANY-TIME TESTED SINCE 1604
1900 SOUTH 78TH AVENUE-WEST BEND, Wi 53005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABELITY POLICY
POLICY NUMBER WCA 0457505-06
RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2
CLASSIFICATION OF OPERATIONS
EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
IL 0001 5445  WALLBOARD INSTALLATION-WITHIN 8,456,324 9.78 827,028
BUILDINGS~& DRIVERS
5474 PAINTING OR PAPER HANGING NOC 4 5,601,783 10.52 589,308
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR ~ EXECUTIVE 1,226,992 3.93 48,221
SUPERVISOR OR CONSTRUCTION
SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 38,977 10.40 4,054
YARD
8742  SALESPERSONS, COLLECTORS OR 133,070 0.53 705
MESSENGERS-OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 371,097 0.32 1,188
SUB-TOTAL 1,470,504
9740 FOREIGN TERRORISM 0500 7,914
9741 | DOMESTIC TERR., EARTHQUAKE & CAT. .0200 3,166
0930 WAIVER 2,000
9812 INCREASED COVERAGE II 2.8% 41,230
9931 MEDICAL DEDUCTIBLE 2.8% 42,385-
9898 EXPERIENCE MODIFICATION .8300 250,129
9887 SCHEDULE MODIFICATION 51.7%  631,371-
IIC OPERATIONS FUND SURCHARGE 0101 5,452
TOTAL FOR ILLINOIS 600,929

ISSUE DATE 12/19/2005
Case: 1:12-cv-06425 Document #: 1-1 Filed: 08/14/12 Page 52 of 79 PagelD #:62

(WCJA184)
. West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANCE CONPANY-IME TESTED SINCE 1654
1900 SOUTH 18TH AVENUE-WEST SEND, Mi 63095
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING CO, ENC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
Sf CHARLES, IL 60174 WEST CHICAGO, IL 60185

{630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY BEBNDORSEMENT SCHKREDOLE

PAGE 3
NUMBER DESCRIPTION
WB1188 WEST BEND MUTUAL PRIVACY STATEMENT (01-06)
wOQQO000A WORKERS COMP & EMPLOYERS LIAB.& INS.POL. (92-04)
WCOCOOO01A GENERAL INFORMATION PAGE NOTES {91-06)
WO00N3A10 SOLE PROP. PARTNERS OFFICERS & OTHERS END, (84-04)
wco0o403 EXPERIENCE RATING MODIFICATION FACTOR EWD. {84-04}
Woood4dd6 PREMIUM DISCOUNT ENDORSEMENT (84-08)
WC000414 NOTIFICATION OF CHANGE IN OWNERSHIP END. {90-07}
WC120402 ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WB1130 IMPORTANT NOTICE - SUBCONTRACTORS (84-07}
WE409F NOTICE OF BLECT TO ACCEPT AN INS DED-ILL W.C. (05-01}
WCo00313 WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)
woO004d19 PREMIUM DUB DATE ENDORSEMENT (01-01)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUER DATE 12/19/2005
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(WCJA184)
- West Bend Mutual CUSTOMER # 0110109905 R 232
INSURANCE COMPANY-TIME TESTED SINCE 1804
1800 SCUTH [8TH AVENUE-WEST BEND, WI 53005
STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCA 0457505-06
RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING Co, INC PRIME MERIDIAN GROUP LTD
601 SIDWELL CT UNIT L 2700 INTERNATIONAL DR
ST CHARLES, IL 60174 - WEST CHICAGO, IL 60185

(630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE
PAGE 4
NUMBER DESCRIPTION
weodd421 DOMESTIC TERRORISM, EARTHQUAKES, & CAT. INDUST. ACC (05-01)
woooo4d22 FOREIGN TERRORISM PREMIUM ENDORSEMENT (06-01)
wo120601C ILLINOIS AMENDATORY ENDORSEMENT (01~04)}
WC120602A ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 12/19/2005
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 03 10 (04-84)

SOLE PROPRIETORS, PARTNERS, OFFICERS AND OTHERS COVERAGE ENDORSEMENT

An election was made by or on behalf of each person described in the Schedule to be subject to the workers
compensation law of the state named in the Schedule. The premium basis for the policy includes the re-
muneration of such persons.

Schedule
Persons State
Sole Proprietor:
Partners:
Officers:
DORIS PROCACCIO IL
Ib

ANTONIO PROCACCIO (12/13/1957)

Others:

This endorsement changes the polley to which it is attached and is effective an the date issued untess otherwise stated.

(The Information below Is required only when this endorsement is issued subsequent to preparation of the policy.)
Endorsement Effective Policy No. Endorsement No,
Insured ‘Premium $

Insurance Company = Countersigned By

WG 00 08 10 (04-84)
Capyright 1983 National Council on Compensation Insurance
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC_00.03-43.(Ed_04.84).

WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule. (This agreement appiies only to the
extent that you perform work under a written contract that requires you fo obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

Schedule

CENTEX HOMES-ILLINOIS DIVISION
CENTEX HOMES A NEVADA PARTNERSHIP
CENTEX REAL ESTATE CORPORATION

MASTERPIECE HOMES, LLC
RYLAND GROUP, INC

MCHUGH/RITEWAY JOINT VENTURE; URBAN QUEST; ROOSEVELT
SQUARE I LP; ROOSEVELT SQUARE I LLC; LR ABLA LLC;
HEARTLAND ABLA RENTAL I NFP; HEARTLAND HOUSING, INC;

RCC CREDIT FACILITY LLC, ITS SUCCESSORS & ASSIGNS
RELATED DIRECT SLP LLC, ITS SUCCESSORS & ASSIGNS;
CHICAGO HOUSING AUTHORITY; BANK OF AMERICA NA; THE
RELATED COMPANIES, LP, THEIR SUBSIDIARIES, AFFILIATES,
DIRECTORS, OFFICERS, MEMBERS, MANAGERS, PARTNERS, AGENTS,
EMPLOYEES, SERVANTS

RE: ROOSEVELT SQUARE PHASE I

This endorsement changes the policy to which itis attached and is effective on the date issued unless otherwise stated.

{The information below fs required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No,
Insured Pramium $
Insurance Company Countersigned by

WC 00 03 13 (04 84} Page 1 of 1

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC_00-03.13(Ed_04 84).

WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule. (This agreement applies only to the
extent that you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shail not operate directly or indirectly to benefit anyone not named in the Schedule.

Schedule

LENNAR CORPORATION, INCLUDING ITS SUBSIDIARIES, PARTNERS,
PARTNERSHIPS, AFFILIATED COMPANIES, SUCCESSORS & ASSIGNS

MADRES UNIDAS DEVELOPMENT CORP; MADRES UNIDAS LIMITED
PARTNERSHIP; LATIN UNITED COMMUNITY HOUSING CORP ASSN;
HARRIS TRUST & SAVINGS BANK; NATIONAL EQUITY FUND, INC;
ILLINOIS HOUSING DEVELOPMENT AUTHORITY; CITY OF CHICAGO
C/O DEPT OF ROUSING, CHICAGO LOW INCOME HOUSING TRUST FUND
C/O DEPT OF HOUSING, LANDON BONE BAKER ARCHITECTS, LTD;
GFGR, INC; ARCHITECTS ENGINEERS, LTD; THRUSH CONSTRUCTION,
INC; CALOR MECHANICAL ENGINEERS, HTH MECHANICAL SERVS, INC
JOB: LUCHA

This endorsement changes the policy to which itis attached and is effective on the date issued unless otherwise stated.

(The information betow is required only when this endorsement Is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

WC 00 03 13 (04 84) Page 1 of 1

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WEST BEND PRIVACY STATEMENT

At West Bend your Privacy is Important to us! .

West Bend is committed to providing you, our Customer, with the finest insurance products backed by legendary ser-

vice, While information is fundamental to our ability to serve our Customers, we recognize the importance of maintain-

ing the privacy of your personal information.

Therefore, the following are principles that West Bend has established for the gathering and sharing of consumer

information:

« We do not and will nat sell your personal information to anyone.

¢ We maintain physical, electronic, and procedural safeguards that comply with applicable privacy regulations in order
to protect your non-public personal Information. . .

* We collect and use Customer information only to the extent required to conduct our business and to meet the high-
est quality service standards.

. @ We require any organization that helps us serve our Customers to meet our privacy standards.

¢ We exchange Customer information with non-affiliated entities only to the extent required or permitted by law, for
underwriting, administrative, or risk management purposes, verification, and to detect and prevent fraud.

GATHERING OF INFORMATION

We obtain information about you, our Customer, from your applications, transactions, and other interactions with us,
as well as credit reporting agencies and other third parties. We obtain and use this information only in accordance with
applicable law or in response to your request far a contract with us. The information we gather helps us identify who
you are, manage our relationship with you, and develop insurance products and services that meet your needs.

- SHARING OF INFORMATION

We are dedicated to serving our Customers’ needs for privacy. We do NOT share our Customer's non-public personal
information with non-affiliated companies except as permitted or required by law. We restrict access to your nonpublic
personal information to our employees and agents who need to know that information to provide products or servicas
to you. We will not reveal our Customer information to any external organization unless we have previously informed
our Customer in this or other disclosures or agreements, have been authorized by our Customer, or are otherwise
required by law to da so.

We will not use or share with non-affiliated companies personally identifiable medical information for any purpose
other than the underwriting or administration of our Customer's policy or claim, or as disclosed to our Customer when
the information is collected, or to which our Customer consents. :

MONITORING OF PRIVACY PRACTICES

We will monitor our practices to insure that our Customers’ privacy is respected. We will also conduct our business in
a manner that meets the privacy regulations of any state in which we do business.

WB 1188 0604 West Bend Mutual insurance Company Page 1 of 1
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 00 00 A (Ed. 04 92}

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

PART ONE
WORKERS COMPENSATION INSURANCE
A. How This Insurance Applies
This workers compensation insurance applies to

in return for the payment of the premium and subject
to all terms of this policy, we agree with you as follows:

GENERAL SECTION
A. The Policy

This policy includes at its effective date the Infor-
mation Page and all endorsements and schedules
listed there. It is a contract of insurance between
you (the employer named in Item 1 of the Informa-
tion Page) and us (the insurer named on the infor-
mation Page). The only agreements relating to this
insurance are stated in this policy. The terms of
this polley may not be changed or waived except by
endorsement issued by us to be part of this-policy.

. Who is Insured

You are insured if you are an employer named in
item 1 of the Information Page. If that employer Is a
partnership, and if you are one of its partners, you
are insured, but only In your capacity as an em-
ployer of the partnership's employees, .

. Workers Compensation Law

Workers Compensation Law means the workers or
workmen's compensation law and occupational
disease law of each state or territory named in Item
3.4. of the Information Page. it includes any
amendments to that law which are in effect during
the policy period, It does not include any federal
workers or workmen's compensation law, any fed-
eral occupational disease law or the provisions of
any faw that provide noneccupational . disability
benefits.

. State

State means any state of the United States of
America, and the District of Columbia.

. Locations

This policy covers all of your workplaces listed in
Items 1 or 4 of the Information Page; and it covers
ali other workplaces in Item 3.4. states unless you
have other insurance or are self-insured for such
workplaces.

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bodily injury by accident or bodily injury by disease.
Bodily injury includes resulting death.

1. Bodily injury by accident must occur during the
policy period.

2. Bodily injury by disease must be caused or
aggravated by the conditions of your employ-
ment. The employee's last day of last exposure
to the conditions causing or aggravating such
bodily injury by disease must occur during the
_policy period.

. We Will Pay

We will pay promptly, when due the benefits re-
quired of you by the workers compensation law.

. We Will Defend

We have the right and duty to defend at our ex-
pense any claim, proceeding or suit against you for
benefits payable by this insurance. We have the
right to investigate and settle these claims, pro-
ceedings or suits.

We have no duly to defend a claim, proceeding or
suit that is not covered by this insurance.

. We Will Also Pay

We will also pay these casts, in addition to other
amounts payable under this insurance, as part of
any claim, proceeding or suit we defend:

1. reasonable expenses incurred at our request,
hut not loss of earnings;

2. premiums for bands to release attachments and
for appeal bonds In bond amounts up to the
amount payable under this insurance;

litigation costs taxed against you;

4. interest on a judgment as required by faw until
we offer the amount due under this insurance;
and

§. expenses we incur.

“

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E, Other Insurance

We will not pay more than our share of benefits
and costs covered by this insurance and other in-
surance or self-insurance, Subject to any limits of
liability that may apply, all shares will be equal until
the ioss Is paid. If any insurance or self-insurance
is exhausted, the shares of al! remaining insurance
will be equal until the loss is paid.

. Payments You Must Make

You are responsible for any payments in excess of
the benefits regularly provided by the workers com-
pensation law including those required be-cause:

1. of your serious and willful misconduct;

Z. you knowingly employ an employee i in violation
of law;

3. you fail to comply with a health or safely law or
regulation; or

4. you discharge, coerce or otherwise discriminate
against any employee in violation of the workers
compensation law.

If we make any payments in excess of the benefi ts
regularly provided by the workers compensation
law on your behalf, you will reimburse us promptly.

. Recovery From Others

We have your rights, and the rights of persons en-
titled to the benefits of this insurance, to recover
our payments from anyone liable for the i injury. You
will do everything necessary to protect those rights
for us and to help us enforce them.

. Statutory Provisions

These statements apply where they are required by
law.

4. As between an injured worker and us, we have
notice of the injury when you have notice.

2. Your default or the bankruptcy or insolvency of
you or your estate will not relieve us of our du-
ties under this insurance after an injury occurs.

3. We are directly and primarily liable to any per-
son entitled to the benefits payable by this in-
surance, Those persons may enforce our du-
ties; so may an agency authorized by law. En-
forcement may be against us or against you
and us.

4, Jurisdiction over you is jurisdiction over us for
purposes of the workers compensation law. We
are bound by decisions against you under that
law, subject to the provisions of this policy that
are not In conflict with that law.

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5, This insurance canforms to the parts of the
workers compensation law that apply to:

a. benefits payable by this insurance;
b. special taxes, payments inte security or

other special funds, and assessments pay-
able by us Under that law.

6. Terms of this insurance that conflict with the
workers compensation law are changed by this
statement to conform to that law,

Nothing in these paragraphs relieves you of your
duties under this policy.

PART TWO
EMPLOYERS LIABILITY INSURANCE
A. How This Insurance Applies

This employers liability Insurance applies to bodily

injury by accident or bodily injury by disease, Bodily

injury includes resulting death.

4. The bodily injury must arise out of and in the
course of the injured employee's employment
by you.

2. The employment must be necessary or inci-
dental to your work in a state or territory listed in
ttem 3.4. of the Information Page.

3. Bodily injury by accident must occur during the
policy period.

4. Bodily injury by disease must be caused or
aggravated by the conditions of your employ-
ment. The employee's last day of last exposure
to the conditions causing or aggravating such
bodily injury by disease must occur during the
policy period.

5. If you are sued, the original suit and any related
legal actions for damages for bodily injury by
accident or by disease must be brought in the
United States of America, its territories or pos-
sessions, or Canada.

. We Will Pay

We will pay all sums you legally must pay as dam-
ages because of bedily injury to your employees,
provided the bodily injury is covered by this Em-
ployers Liability Insurance.

The damages we will pay, where recovery is per-
mitted by law, Include damages:

1. for which you are liable to a third party by rea-
son of a claim or suit against you by that third
party to recover the damages claimed against
such third party as a result of injury to your em-
ployee;

2. for care and loss of services; and’

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3. for consequential bodily injury to a spouse,
child, parent, brother or sister of the injured
employee;

-provided that these damages are the direct conse- -

quence of bodily injury that arises out of and in the

course of the injured employee's employment by

you; and

4, because of bodily injury to your employee that
arises out of and in the course of ernployment,
claimed against you in a capacity other than as
employer. .

. Exclusions
This insurance does not cover:

4. liability assumed under a contract. This exclu-
sion does not apply to a warranty that your wark
will Oe done in a workmanlike manner;

2. punitive or exemplary damages because of
bodily injury to an employee employed in viola-
tion of law;

3. bodily injury to an employee while employed in
Violation of law with your actual knowledge or
the actual knowledge of any of your executive
officers;

4. any obligation imposed by a workers compen-
sation, occupational disease, unemployment
compensation, or disability benefits law, or any
similar law;

§. bodily‘injury intentionally caused or aggravated
by you;

6. bodily:injury occurring outside the United States
of America, its territories or possessions, and
Canada. This exclusion does not apply to bodily
injury to a citizen or resident of the United
States of America or Canada who is temporarily
outside these countries;

7. damages arising out of coercion, criticism, de-
motion, evaluation, reassignment, discipline,
defamation, harassment, humiliation, discrimi-
nation against or termination of any employee,
or any personnel practices, policies, acts or
omissions;

8. bodily injury to any person in work subject to the
Longshore and Harbor Workers' Compensation
Act (3 USC Sections 901-950}, the Non-
appropriated Fund Instrumentalities Act (5 USC
Sections 8171-8173), the Outer Continental
Shelf Lands Act (48 USC Sections 1331-
4356), the Defense Base Act (42 USC
Sections 1651-1654), the Federal Coal Mine
Health and Safety Act of 1969 (30 USC
Sections 901—942), any other federal workers
or workmen's compensation law or other federal
occupational disease law, or any amendments
to these laws;

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9. bodily injury to any person in work subject to the
Federal Employers’ Liability Act (45 USC Sec-
tions 51-60), any other federal laws obligating
an employer fo pay damages to an employee
due to bodily injury arising out of or in the
course of employment, or any amendments to
those laws;

10. bodily injury to a master or member of the crew
of any vessel;

14. fines or penaities imposed for violation of fed-
eral or state faw; and

12. damages payable under the Migrant and Sea-
sonal Agricultural Worker Protection Act (29
USC Sections 1801-1872) and under any other
federal law awarding damages for violation of
those laws or regulations issued thereunder,
and any amendments to those laws,

D. We Wil! Defend

We have the right and duty to defend, at our ex-
pense, any claim, proceeding or suit against you for
damages payable by this insurance. We have the
right fo investigate and settle these claims, pro-
ceedings and suits.

We have no duty to defend a claim, proceeding or
suit that is not covered by this insurance. We have
no duty to defend or continue defending after we
have paid our applicable limit of liability under this
insurance,

. We Will Also Pay

We will also pay these costs, in addition to other
amounts payable under this insurance, as part of
any claim, proceeding, or suit we defend:

1. reasonable expenses incurred at our request,
but not loss of earnings;

2. premiums for bonds to release attachments and
for appeal bonds in bond amounts up fo the
limit of our liability under this insurance;

3. litigation costs taxed against you;

4, interest on a judgment as required by law until
we offer the amount due under this insurance:
and

§, expenses we incur.

. Other Insurance

We will not pay more than our share of damages
and costs covered by this insurance and other in-
surance or self-insurance. Subject to any limits of
liabitity that apply, all shares will be equal until the
loss is paid. If any insurance or self-insurance Is
exhausted, the shares of all remaining insurance
and self-insurance will be equal until the loss is
paid.

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G. Limits of Liability

Our liability to pay for damages is limited. Our limits
of liability are shown in Item 3.B. of the Information

PART THREE
OTHER STATES (NSURANCE
A. How This Insurance Applies

‘ Page. They apply as explained below.

4. Bodily Injury by Accident. The limit shown for
“bodily injury by accident—each accident’ is the
‘ most we will pay for all damages covered by

this insurance because of bodily injury to one or .

more employees in any one accident.

A disease is not bodily injury by accident untess
it results directly from bodily injury by accident.

2. Bodily Injury by Disease. The limit shown for
“bodily injury by disease—policy limit” is the
most we will pay for afl damages covered by
this insurance and arising out of bodily injury by
disease, regardless of the number of employ-
ees who sustain ‘bodily injury by disease. The
limit shown for “bodily injury by disease—each
employee" is the mast we will pay for all dam-
ages because of bodily injury by disease to any
one employee.

Bodily injury by disease does not include dis-
ease that resuits directly from a bodily injury by
accident.

3. We will not pay any claims for damages after
we have paid the applicable limit of our liability
under this insurance.

. Recovery From Others

We have your rights to recover our payment from
anyone liable for an injury covered by this insur-
ance. You will do everything necessary to protect
those rights for us and to help us enforce ther.

. Actions Against Us

There will be no right of action against us under
this insurance unless:

4. You have complied with all the terms of this
policy; and

2, The amount you owe has been determined with
cur consent or by actual trial and final judg-
ment.

This insurance does not give anyone the right to
add us as a defendant in an action against you to
deter-mine your liability. The bankruptcy or insol-
vency of you or your estate will not relieve us of our
obligations under this Part.

Page 4 of 6

1. This cfher states insurance applies only if one
or more states are shown in Item 3.6. of the
Information Page.

2. If you begin work in any one of those states
after the effective date of this policy and are not
insured or are not self-insured for such work, all
provisions of the policy will apply as though that
state were listed in Item 3.4. of the information
Page.

3. We will reimburse you for the benefits required
by the workers compensation law of that state if
we are not permitted to pay the benefits directly

_to persons entitled to them.

4. lf you have work on the effective date of this
policy in any state not listed in Item 3.A. of the
information Page, coverage will not be afforded
for that state unless we are notified within thirty
days.

B. Nofice

Tell us at once if you begin work in any state listed
in Iter 3.C. of the Information Page.

PART FOUR
YOUR DUTIES IF INJURY OCCURS

Tell us at once if injury occurs that may be covered
by this policy. Your other duties are listed here.

4. Provide for immediate medical and other serv-
ices required by the workers compensation law.

2. Give us or our agent the names and addresses
of the injured persons and of witnesses, and
other information we may need,

3. Promptly give us all notices, demands and iegal
papers related to the injury, claim, proceeding
or suit.

4, Cooperate with us and assist us, as we may re-
quest, in the investigation, settlement or de-
fense of any claim, proceeding or suit.

5. Do nothing after an injury occurs that would
interfere with our right to recover fram others.

6. Do not voluntarily make payments, assume
obligations or incur expenses, except at your
own cost.

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If this policy is canceled, final premium will be de-
termined in the following way unless our manuals

PART FIVE—PREMIUM
A. Our Manuals

All premium for this policy will be determined by aur
manuals of rules, rates, rating plans and classifica-
tions, We may change’our manuals and apply the
changes to this policy if authorized by law or a gov-
ernmental agency regulating this insurance,

. Classifications

Item 4 of the Information Page shows the rafe and
premium basis for certain business or work classi-
fications. These classifications were assigned
based on an estimate of the exposures you would
have during the policy period. If your actual expo-
sures are not properly described by those classifi-
cations, we will assign proper classifications, rates
and premium basis by endorsement te this policy.

. Remuneration

Premium for each work classification is determined
by multiplying a rate times a premium basis. Re-
muneration is the most common premium basis.
This premium basis includes payroll and all other
remuneration paid or payable during the policy pe-
riod for the services of:

1. all your officers and employees engaged in
work covered by this policy; and

2. all other persons engaged in work that could
make us liable under Part One (Workers Gom-
pensation Insurance) of this policy. If you do not
have payroll records for these persons, the con-
tract price for their services and materials may
be uséd as the premium basis. This paragraph
2 will not apply if you give us proof that the em-
ployers: of these persons lawfully secured their
workers compensation obligations.

. Premium Payments

You will pay all premium when due, You will pay the
premium even if part or all of a workers compensa-
tion law is not valid.

. Final Premium

The premium shown on the information Page,
schedules, and endorsements is an estimate. The
final premium will be determined after this policy
ends by using the actual, not the estimated, pre-
mium basis and the proper classifications and
rates that (awfully apply to the business and work
covered by this policy. If the final premium is more
than the premium you paid fo us, you must pay us
the balance. If it is less, we will refund the balance
to you. The final premium will not be fess than the
highest minimum premium for the classifications
covered by this policy.

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provide otherwise:

1. If we cancel, final premium will be calculated
pro rata based on the time this policy was in
force. Final premium will not be tess than the
pro rata share of the minimum premium.

2. If you cancel, final premium will be more than
pro rata; it will be based on the time this policy
was in force, and increased by. our short-rate
cancelation table and procedure. Final premium
will not be less than the minimum premium.

. Records

You will keep records of information needed to
compute premium, You will provide us with copies
of those records when we ask for them.

. Audit

You will let us examine and audit all your records
that relate to this policy. These records include
ledgers, journals, registers, vouchers, contracts,
tax reports, payroll and disbursement records, and
pro-grams for storing and retrieving data. We may
con-duct the audits during regular business hours
during the policy period and within three years after
the policy period ends. Information developed by
audit will be used to determine final premium. In-
surance rate service organizations have the same
rights we have under this provision.

PART SIX—CONDITIONS
A. Inspection

We have the right, but are not obliged to inspect
your workplaces at any time. Our inspections are
not safety Inspections. They relate only to the in-
surability of the workplaces and the premiums fo be
charged. We may give you reports on the condi-
tions we find. We may also recommend changes.
While they may help reduce losses, we do not un-
dertake to perform the duty of any person to pro-
vide for the health or safety of your employees or
the public. We do not warrant that your workplaces
are safe or healthful or that thay comply with laws,
regulations, codes or standards. Insurance rate
service organizations have the same rights we have
under this provision.

. Long Term Policy

If the policy period is longer than one year and six-
teen days, all provisions of this policy will apply as
though a new policy were issued on each annual
anniversary that this policy is in force.

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C. Transfer of Your Rights and Duties 3. The policy period will end on the day and hour
stated In the cancelation notice,

Your right duti der this policy m t b
our rights of difies under hus polcy may not be 4. Any of these provisions that conflict with a law

transferred without our written consent. ’

. . , ede at that controls the cancelation of the insurance in
if you die and we receive notice within thirty days this policy is changed by this statement to com-
after your death, we will cover your legal represen- . ply with the law, .-
tative as insured.

. E. Sole Representative
D. Cancelation

The insured first named in Iter 1 ‘of the information

1. You may cancel this policy. You must mail or Page will act on behalf of all insureds to change
deliver advance written notice to us stating this policy, receive return premium, and give or re-
when the cancelation is to take effect. ceive notice of cancelation.

2, We may cancel this policy. We must mail or de-
liver to you not less than ten days advance
written notice stating when the cancelation is to
take effect. Mailing that nofice to you at your
mailing address shown in Item 1 of the Infor-
mation Page will be sufficient to prove notice.

Page 6 of 6 WC 00 00 00 A (04 92)
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 00 01 A (Ed. 06 91)

GENERAL INFORMATION PAGE NOTES

4. Insurance carriers may show a renewal agreement statement on the standard Information Page when a policy is
renewed, The carrier must show “Renewal Agreement” or a like heading along with the title “Information Page” if a
renewal agreement statement is shown on the Information Page.

2. Insurance carriers showing a renewal agreement statement on the Information Page or entering into a renewal
agreement not shown on the Information Page may list any or all endorsements in Item 3.D., elsewhere on the !n-
formation Page or in an Information Page Schedule, A carier is not required to attach such listed endorsements to
the Information Page and Policy if the endorsements have already been provided to the insured by that carrier.

3. These General Information Page Notes do nat affect the standard Information Page entry requirernents set forth in
the Information Page Notes.

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 G3 (Ed. 04 84)

EXPERIENCE RATING MODIFICATION FACTOR ENDORSEMENT

The premium for the policy will be adjusted by an experience rating modification factor. The factor was not available
when the policy was issued. The factor, if any, shown on the Information Page is an estimate. We will issue an en-
dorsement to show the proper factor, if different from the factor shown, when it is calculated.

This endorsement changes the policy to which it is attached and is effective on the date isstied unless otherwise stated,

(The information below is required anly when this endarsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

WC 60 04 03 (04 84) Page 1 of 1

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 06 (Ed. 08 84 )

PREMIUM DISCOUNT ENDORSEMENT

The premium for this policy and the policies, if any, listed in Item 3 of the Schedule may be eligible for a discount. This
endorsement shows your estimated discount in Items 1 or 2 of the Schedule. The final calculation of premium dis-
count will be determined by our manuals and your premium basis as determined by audit. Premium subject to retro-
spective rating is not subject to premium discount.

Schedule
j. State , Estimated Eligible Premium
First Next Next
$5,000 $95,000 $400,000 Balance

2. Average percentage discount: %

3. Other policies:

4, lf there are no entries in Items 1, 2 and 3 of the Schedule, see the Premium Discount Endorsement attached fo
your policy number:

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Palicy No. Endorsement No.

(nsured Premium $

insurance Company Cauntersigned by

WC 00 04 06 (08 84) Page 1 of 1

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WORKERS GOMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WG 00 04 14 (Ed. 07 90)

NOTIFICATION OF CHANGE IN OWNERSHIP ENDORSEMENT

Experience rating is mandatory for all eligible insureds. The experience rating modification factor, if any, applicable to
this policy, may change if there is a change in your ownership or in that of one or more of the entities eligible to be
combined with you for experience rating purposes. Change in ownership includes sales, purchases, other transfers,
mergers, consolidations, dissolutions, formations of a new entity and other changes provided for in the applicable
expertence rating plan manual.

You must report any change in ownership to us in writing within 90 days of such change. Failure to report such
changes within this period may result in revision of the experience rating modification factor used to determine your
premium.

‘This endorsement changes the policy te which it is attached and is effective on the date issued unless otherwise stated,

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

WC 00 04 14 (07 90) Page 1 of 4

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 12 04 02 (Ed. 09-92)

ILLINOIS CONTRACTING CLASSIFICATION PREMIUM ADJUSTMENT ENDORSEMENT

The premium for the policy may be adjusted by an lilincis Contracting Classification Premium Adjustment factor. The
factor was nof available when the policy was issued. If you qualify, or if an estimated factor has been applied, we will
issue an endorsement to show the proper premium adjustment factor after it is calculated.

This endorsement changes the policy to which It is attached and is effective on the date issued untess otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. ° Endorsement No.

Insured Premium $

insurance Company Countersigned by

WC 142 04 02 (09-92) Page 1 of 1

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IMPORTANT NOTICE

You may be required under the Workers' Compensation law of your state to include liability for compensation to em-
playees of contractors (or subcontractors) as well as to contractors (or subcontractors) without employees performing
work for you. We will therefore require you to report to us at time of final audit the entire payment made to such con-
tractors (or subcontractors) and a premium shall be made based upon the company’s rate or rates applicable to the
trade, business, profession or occupation of the contractor (or subcontractor).

If, however, the contractor (or subcontractor) has furnished a Certificate of Insurance indicating he has Workers’
Compensation coverage, we will not make a premium charge provided the Certificate of Insurance is furnished to our
auditor at the time of audit.

We are advising you of this information at this time to prevent any misunderstanding at audit time. Please request
proper Insurance Certificates from each of your subcontractors.

WB 1130 07 84 West Bend Mutual Insurance Company Page 1 of 1
West Bend, Wisconsin 53095
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NOTICE OF ELECTION TO ACCEPT AN
INSURANCE DEDUCTIBLE FOR ILLINOIS
WORKERS' COMPENSATION MEDICAL BENEFITS

lllineis law permits you to purchase your Workers’ Compensation Insurance with a $1,000 deductible. The de-
ductible is for medical benefits only and applies separately to each accident.

A credit of 2.8% ts allowed with the acceptance of this deductible. This 2.6% reduction in premium is subject to
approval by the iilincis Insurance Department.

If you want this deductible to apply, you must complete this form and return it fo West Bend Mutual Insur-
ance Company.

Ll Yes, | want a deductible of $1,000 applied to medical benefits under the Illinois Workers’ Compensation law. |
understand that the company shall pay the deductible amount and seek reimbursement from the

Named Insured shown below.

Named Insured Customer/Policy Number
Signature of Owner or Authorized Officer Date
WB 409 F 01 05 West Bend Mutual Insurance Company Page 1 of 1

West Bend. Wisconsin 53095
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 014 43 (Ed. 01.06)

TERRORISM RISK INSURANCE EXTENSION ACT ENDORSEMENT

This endorsement addresses the requirements of the Terrorism Risk Insurance Act of 2002 as amended and extended
by the Terrorism Risk Insurance Extension Act of 2005.

Definitions ,

The definitions provided in this endorsement are based on the definitions in the Act and are intended to have the same
meaning. If words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will
apply."Act" means the Terrorism Risk Insurance Act of 2002, which took effect on November 26, 2002, and any
amendments resulting from the Terrerism Risk Insurance Extension Act of 2005. ,

“Act of terrorism" means any act that is certified by the Secretary of the Treasury, in concurrence with the Secretary of
State, and the Attorney General of the United States as meeting alt of the following requirements:

a. The act is an act of terrorism.
b. The act is violent or dangerous to human life, property or infrastructure.

c. The act resulted in damage within the United States, or outside of the United States in the case of United
States missions or certain air carriers or vessels,

d. The act has been committed by an individual or individuals acting on behalf of any foreign person or foreign
interest, as part of an effort to coerce the civilian population of the United States ar to influence the policy or
affect the conduct of the United States Government by coercion.

“Insured terrorism or war loss" means any loss resulting from an act of terrorism (including an act of war, in the case of

workers compensation) that is covered by primary or excess property and casualty insurance issued by an insurer if
the loss occurs in the United States or at United States missions or to certain air carriers or vessels.

“Insurer deductible” means:
a. For the period beginning on November 26, 2002 and ending on December 31, 2002, an amount equal to 1% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding November
26, 2002. .
b. For the period beginning on January 1, 2003 and ending on December 31, 2003, an amount equal to 7% of our
direct eared premiums, as provided in the Act, over the calendar year immediately preceding January 1, 2003.
c. For the period beginning on January 1, 2004 and ending on December 31, 2004, an amount equal to 10% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding January 1,
2004, .
d. For the period beginning on January 1, 2005 and ending on December 31, 2005, an amount equal ta 15% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding January 1,
2005,
e. For the period beginning on January 1, 2006 and ending on December 31, 2006, an amount equal to 17.5% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding January 1,
2006.
f. For the period beginning on January 1, 2007 and ending on December 31, 2007, an amount equal to 20% of
our direct earned premiums, as provided in the Act, over the calendar year immediately preceding January 1,
2007.
Limitation of Liability
The Act may limit our liability to you under this policy. If annual aggregate insured terrorism or war losses of all
insurers exceed $100,000,000,000 during the applicable period provided in the Act, and if we have met our insurer
deductible, the amount we will pay for insured terrorism or war losses under this policy will be limited by the Act, as
determined by the Secretary of the Treasury.

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Policyholder Disclosure Netice

1: Insured terrorism or war losses would be partially reimbursed by the United States Government under a formula
established by the Act. Under this formula, the United States Government would pay 90% for Program Year 4 and
85% for Program Year 5 of our insured terrorism or war losses exceeding our insurer deductible.

2. The premium charged for the coverage this policy provides for insured terrorism or war losses is included in the
amount shown In Itern 4 of the Information Page or in the Schedule in the Foreign Terrorism Premium
Endorsement (WC 00 04 22), attached to this policy.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated. _

{The information below is required only when this endorsement is issued subsequent to preparation of the policy.}

Endorsement Effective Policy No. Endorsement No.
Insured Premium:
Insurance Company Countersigned by

WC 00 01 13 {01 06) Page 2 of 2

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 19 (Ed. 01 01)

PREMIUM DUE DATE ENDORSEMENT

This endorsement is used to amend:
Section D. of Part Five of the policy is replaced by this provision.
PART FIVE

PREMIUM

D. Premium is amended to read:

You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
not valid. The due date for audit and retrospective premiums is the date of the billing.

This endorsement changes the policy to which it is attached and ts effective on the date issued unless otherwise stated,

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No,

Insured Premium $

insurance Company Countersigned by

WC 00 04 19 {071 01) Page 1 of 1

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 21 (Ed. 01 08)

DOMESTIC TERRORISM, EARTHQUAKES, AND CATASTROPHIC
INDUSTRIAL ACCIDENTS PREMIUM ENDORSEMENT

This endorsement is notification that your insurance carrier is charging premium fo cover the losses that may
occur in the event of domestic terrorismn, earthquakes and/or a catastrophic industrial accident.

The premium charge provides funding for the risk of earthquakes, catastrophic industrial accidents, and certain
acts of domestic and foreign terrorism. It dees not provide funding for acts of terrorism certified as such by the
Terrorism Risk Insurance Act (TRIA) of 2002, but rather provides funding for all other acts of terrorism specifically

excluded by TRIA.
For purposes of this endorsement, the following definitions apply:

Domestic terrorism: Alt acts of terrorism outside the scope of TRIA with aggregate workers compensation
losses in excess of $50 million

Earthquake: The shaking and vibration at the surface of the earth resulting from underground movement along
a fault plane of from voicanic activity where aggregate workers compensation losses from the single event are
in excess of $50 million

Catastrophic Industrial Accident: Any single event resulting in aggregate workers compensation losses in ex-
cess of $50 million

Schedule
Payroll Rate Premium

See Declarations

"WC 00 04 21 (0105) , Page 4 of 1
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 21 A (Ed. 01 06)

DOMESTIC TERRORISM, EARTHQUAKES, AND CATASTROPHIC
INDUSTRIAL ACCIDENTS PREMIUM ENDORSEMENT

This endorsement is notification that your insurance carrier is charging premium to cover the losses that may
occur in the event of domestic terrorism, earthquakes and/or a catastrophic industrial accident.

The premium charge provides funding for the risk of earthquakes, catastrophic industrial accidents, and certain
acts of domestic terrorism. It does not provide funding for acts of terrorism certified as such by the Terrorism Risk
Insurance Act of 2002 and any amendments resulting from the Terrorism Risk Insurance Extension Act of 2005
{the Act), or acts of foreign terrorism as that term is defined in the Foreign Terrorism Prernium Endorsement
(WC 00 04 22), attached fo this policy,

For purposes of this endorsement, the following definitions apply:

Domestic terrorism: All acts of terrorism outside the scope of the Act or the Foreign Terrorism Premium En-
dorsement (WC G0 04 22}, with aggregate workers compensation losses in excess of $50 million.

Earthquake: The shaking and vibration at the surface of the earth resulting from underground movement along
a fault plane or from volcanic activity where aggregate workers compensation losses from the single event are
in excess of $50 million.

Catastrophic Industrial Accident: Any single event resulting in aggregate workers compensation lasses in ex-
cess of $50 miilion.

Schedule

Payroll Rate

See Declarations

This endorsement changes the policy to which it is attached and Is effective on the date issued unless otherwise stated.

{The information below Is required only when this endorsementis issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium:

insurance Company Countersigned by

WC 00 04 21 A (01 06) Page 1of 1

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 22 (Ed. 01-06)

FOREIGN TERRORISM PREMIUM ENDORSEMENT

This endorsement is nolification that your insurance carrier is charging premium for losses that may occur in the event
of an act of foreign terrorism.

Your policy provides coverage for workers compensation losses caused by acts of foreign terrorism, including workers
compensation benefit obligations dictated by state law. Coverage for such losses fs still subject fo all terms,
definitions, exclusions, and conditions in your policy, and any applicable federal and/or state laws, rules, or
regulations.

For purposes of this endorsement, an “act of foreign terrorism" is defined as:
a. Any act that is violent or dangerous to human life, property or infrastructure; and

b. The act has been committed by an individual or individuals acting on behalf of any foreign person or foreign
interest, as part of an effort to coerce the civilian population of the United States or to influence the policy or
affect the conduct of the United States Government by coercion,

The premium charge for the coverage your policy provides for workers compensation losses caused by an act of
foreign terrorism is shown in Item 4 of the Information Page or in the Schedule below,

Schedule

State Rate per $100 of payroll

See Declarations See Declarations

This endorsement changes the policy to which it is attached and Is effective on the date issued unless otherwise stated,

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No,
Insured : Premium $
Insurance Company Countersigned by

WC 00 04 22 (01 06)
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 12 06 01 G (Ed. 04 04)

ILLINOIS AMENDATORY ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Illinois is shown in Item 3.A. of the
Information Page. :

Part Six (Conditions}, Condition A. Inspection, Condition D. Cancellation and Condition E. Sole Representative of
the policy are replaced by these four Conditions.

Inspection

We have the right, but are not obliged, to inspect your workplaces at any time. Our inspections are not safety inspec-
tions. They retate only to the insurability of the workplaces and the premiums to be charged. We may give you reports
on the conditions we find. We may also recommend changes. While they may help reduce losses, we do not under-
take to perform the duty of any person to provide for the health or safety of your employees or the public. We do not
warrant that your workplaces are safe or healthful or that they comply with laws, regulations, codes or standards. The
National Council on Compensation Insurance has the same rights we have under this provision.

Cancellation

1. You may cancel this policy. You will mail or deliver advance written notice to us, stating when the cancellation is ta
take effect.

2. We may cance! this policy. We will mail to each named insured and to the broker or the agent of record advance
written notice stating when the cancellation is to take effect.

3. If we cancel because you do not pay all premium when due, we will mail the notice of cancellation at feast’ ten days
before the cancellation is to take effect. If we cancel for any other reason, we will mail the notice:

a, at least 30 days before the cancellation is to take effect if the policy has been in force for 60 days ar less;

b. at least 60 days before the cancellation is to take effect if the policy has been in force for more than 60 days.
4. If this policy has been in effect for 60 days or more, we may cancel only for one of the following reasons:

a. Nonpayment of premium.
The policy was-issued bacause of a material misrepresentation.
You violated any of the material terms and conditions of the policy, .
There are unfavorable underwriting factors, specific to you, that were not present when the policy took effect.
The Director has determined that we no longer have adequate reinsurance to meet our needs,
The Director has determined that continuation of coverage could place us in violation of the laws of Iifinois,
5. Our notice of cancellation will state our reasons for canceling.
8. The policy period will end on the day and hour stated in the cancellation notice.

Nonrenewal

1. We may elect not to renew the policy. If we fail to give 60 days notice, the policy will automatically be extended for
one year. Mailing that notice to you at your last known mailing address will be sufficient to prove notice. An exact
and unaltered copy of such notice shall also be sent to the insured's broker, if known, or the agent of record at the

last mailing address known by the company.
2. Our notice of nonrenewal will state our reasons for not renewing.

ma pan >

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3. If we fail to provide the notice of nonrenewal as required, the policy will still terminate an its expiration date if:
a. We show you a willingness to renew the policy; or
b. You notify us or the agent or broker who procured this policy that you do not want the policy renewed: or
c. You fail to pay all premiums when due; or
d. You obtain other insurance as a replacement of the policy.
Sole Representative

The insured first named in {tern 1 of the Information Page will act on behalf of afl insureds to change this policy, re-
ceive return premium or to give us notice of cancellation.
Part Five (Premium), Section G. Audit is replaced by this Section.

Audit

You will let us examine and audit all your records that relate to this policy. These records include ledgers, journats,
registers, vouchers, contracts, tax reports, payroll and disbursement records, and programs for storing and retrieving
data. We may conduct the audits during regular business hours during the policy period and within three years after
the policy ends. Information developed by audit will be used fo determine final premium. The National Council on
Compensation Insurance has the same rights we have under this provision.

This endorsement changes the policy to which it is attached and fs effective on the date issued unless otherwise stated,

(The information below is required only when this endorsement Is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

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(Ed. 04-01) ,

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 12 06 02 A (Ed, 08-92 )

(LLINOIS MEDICAL BENEFITS DEDUCTIBLE ENDORSEMENT

This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance) because
tHlinois is shown in item 3.A. of the Information Page.

1. Part One (Workers Compensation Insurance) applies to medical benefits only in excess of a deductible amount of
$1,000. This deductible applies separately to each accident, regardless of the number of persons injured in the ac-
cident.

2. We will pay the deductible amount for you, but you must reimburse us within 30 days after we send you notice that
payment is due. If you fail to reimburse us, we may cancel the policy in accordance with Illinois cancellation law.
We may keep the amount of unearned premium that will reimburse us for the payments we made. These rights are
in additian to other rights we have to be reimbursed.

This endorsement changes the policy to which it is attached and Is effective on the date issued unless otherwise stated.

(The information betow is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

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